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                     EXHIBIT “3”
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                                                                                                          926 RXR Plaza
                                                                                                          Uniondale, NY 11556-0926
                                                                                                          T 516.357.3000 F 516.357.3333
STEVEN T. HENESY
PARTNER
(516) 357-3308
steven.henesy@rivkin.com


                                                                April 17, 2023

Via First Class Mail
PREFERRED INJURY PHYSICIANS OF BRANDON, INC.
Registered Agent: Ronald Jack T. Utter
437 N. Clyde Morris Blvd
Daytona Beach, FL 32114

            Re:            Government Employees Insurance Co., et al. v. Utter, et al.
                           Case No. 6:22-cv-01711-CEM-EJK
                                  NOTICE PURSUANT TO FLA. STAT. § 68.065(4)

Dear Mr. Utter:

       We represent Government Employees Insurance Co., GEICO Indemnity Co., GEICO General
Insurance Company and GEICO Casualty Co. (collectively “GEICO”) in the above-referenced matter.
Pursuant to Fla. Stat. § 68.065(4), you are hereby notified that the following checks have been
dishonored:

         Check number 1336 in the face amount of $110,000.00, issued by you on December 15, 2022,
          payable to GEICO, drawn on an account held by Preferred Injury Physicians of Brandon, Inc. held
          at Suntrust Bank;

    Pursuant to Florida law, you have 30 days from receipt of this notice to tender payment in cash of the
full amount of the dishonored payment instrument, plus a service charge of 5 percent of the face amount
of the dishonored instrument, the total amount due being $115,500.00. Unless this amount is paid in full
within the 30-day period, GEICO may file a civil action against you for three times the amount of the
dishonored instrument, in addition to the payment of the dishonored checks plus any court costs,
reasonable attorney fees, and any bank fees incurred by GEICO in taking the action.




 9 Thurlow Terrace                 21 Main Street, Court Plaza South     477 Madison Avenue                 2649 South Road
 Albany, NY 12203-1005             West Wing, Suite 158                  New York, NY 10022-5843            Poughkeepsie, NY 12601-6843
 T 518.462.3000 F 518.462.4199     Hackensack, NJ 07601-7021             T 212.455.9555 F 212.687.9044      T 845.473.8100 F 845.473.8777
                                   T 201.287.2460 F 201.489.0495
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                                              Very truly yours,

                                              RIVKIN RADLER LLP

                                              /s/
                                              Steven T. Henesy




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STEVEN T. HENESY
PARTNER
(516) 357-3308
steven.henesy@rivkin.com


                                                                April 17, 2023

Via First Class Mail
UTTER CORP.
Registered Agent: Ronald Jack T. Utter
437 N. Clyde Morris Blvd
Daytona Beach, FL 32114

            Re:            Government Employees Insurance Co., et al. v. Utter, et al.
                           Case No. 6:22-cv-01711-CEM-EJK
                                  NOTICE PURSUANT TO FLA. STAT. § 68.065(4)

Dear Mr. Utter:

       We represent Government Employees Insurance Co., GEICO Indemnity Co., GEICO General
Insurance Company and GEICO Casualty Co. (collectively “GEICO”) in the above-referenced matter.
Pursuant to Fla. Stat. § 68.065(4), you are hereby notified that the following checks have been
dishonored:

         Check number 2485 in the face amount of $110,000.00, issued by you on December 15, 2022,
          payable to GEICO, drawn on an account held by Utter Corp. held at Suntrust Bank;


         Check number 2484 in the face amount of $110,000.00, issued by you on December 15, 2022,
          payable to GEICO, drawn on an account held by Utter Corp. held at Suntrust Bank.

    Pursuant to Florida law, you have 30 days from receipt of this notice to tender payment in cash of the
full amount of the dishonored payment instrument, plus a service charge of 5 percent of the face amount
of the dishonored instrument, the total amount due being $231,000.00. Unless this amount is paid in full
within the 30-day period, GEICO may file a civil action against you for three times the amount of the
dishonored instrument, in addition to the payment of the dishonored checks plus any court costs,
reasonable attorney fees, and any bank fees incurred by GEICO in taking the action.




 9 Thurlow Terrace                 21 Main Street, Court Plaza South     477 Madison Avenue                 2649 South Road
 Albany, NY 12203-1005             West Wing, Suite 158                  New York, NY 10022-5843            Poughkeepsie, NY 12601-6843
 T 518.462.3000 F 518.462.4199     Hackensack, NJ 07601-7021             T 212.455.9555 F 212.687.9044      T 845.473.8100 F 845.473.8777
                                   T 201.287.2460 F 201.489.0495
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                                              Very truly yours,

                                              RIVKIN RADLER LLP

                                              /s/
                                              Steven T. Henesy




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                                                                                                          T 516.357.3000 F 516.357.3333
STEVEN T. HENESY
PARTNER
(516) 357-3308
steven.henesy@rivkin.com


                                                                April 17, 2023

Via First Class Mail
HALIFAX CHIROPRACTIC & INJURY CLINIC, INC.
Registered Agent: Ronald Jack T. Utter
437 N. Clyde Morris Blvd
Daytona Beach, FL 32114

            Re:            Government Employees Insurance Co., et al. v. Utter, et al.
                           Case No. 6:22-cv-01711-CEM-EJK
                                  NOTICE PURSUANT TO FLA. STAT. § 68.065(4)

Dear Mr. Utter:

       We represent Government Employees Insurance Co., GEICO Indemnity Co., GEICO General
Insurance Company and GEICO Casualty Co. (collectively “GEICO”) in the above-referenced matter.
Pursuant to Fla. Stat. § 68.065(4), you are hereby notified that the following checks have been
dishonored:

         Check number 6514 in the face amount of $110,000.00, issued by you on December 15, 2022,
          payable to GEICO, drawn on an account held by Halifax Injury Physicians at Suntrust Bank;

         Check number 6515 in the face amount of $110,000.00, issued by you on December 15, 2022,
          payable to GEICO, drawn on an account held by Halifax Injury Physicians at Suntrust Bank.

    Pursuant to Florida law, you have 30 days from receipt of this notice to tender payment in cash of the
full amount of the dishonored payment instrument, plus a service charge of 5 percent of the face amount
of the dishonored instrument, the total amount due being $231,000.00. Unless this amount is paid in full
within the 30-day period, GEICO may file a civil action against you for three times the amount of the
dishonored instrument, in addition to the payment of the dishonored checks plus any court costs,
reasonable attorney fees, and any bank fees incurred by GEICO in taking the action.




 9 Thurlow Terrace                 21 Main Street, Court Plaza South     477 Madison Avenue                 2649 South Road
 Albany, NY 12203-1005             West Wing, Suite 158                  New York, NY 10022-5843            Poughkeepsie, NY 12601-6843
 T 518.462.3000 F 518.462.4199     Hackensack, NJ 07601-7021             T 212.455.9555 F 212.687.9044      T 845.473.8100 F 845.473.8777
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                                              Very truly yours,

                                              RIVKIN RADLER LLP

                                              /s/
                                              Steven T. Henesy




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